                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF TENNESSEE
                                  AT NASHVILLE

DONALD MIDDLEBROOKS,                                 )
                                                     )
       Plaintiff,                                    )      CAPITAL CASE
                                                     )
v.                                                   )      No. 3:19-cv-01139
                                                     )
TONY PARKER, in his official capacity                )      JUDGE CAMPBELL
as Tennessee’s Commissioner of                       )
Correction,                                          )
                                                     )
TONY MAYS, in his official capacity as               )
Warden of Riverbend Maximum Security                 )
Institution,                                         )
                                                     )
       Defendants.                                   )



                  MEMORANDUM OF LAW IN SUPPORT OF
          DEFENDANTS’ MOTION TO DISMISS PLAINTIFF’S COMPLAINT


       Defendants—Tony Parker, Commissioner of the Tennessee Department of Correction

(“TDOC”), and Tony Mays, Warden of Riverbend Maximum Security Institution—move under

Fed. R. Civ. P. 12(b)(1), Fed. R. Civ. P. 12(b)(6), and Local Rule 7.01 to dismiss Plaintiff’s

Complaint. This Complaint should be dismissed for lack of subject matter jurisdiction and failure

to state a claim upon which relief can be granted.

                              PROCEDURAL BACKGROUND

       Plaintiff was convicted of first-degree murder and sentenced to death for participating in

the torture and killing a fourteen-year-old boy. State v. Middlebrooks, 840 S.W.2d 317, 324 (Tenn.




     Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 1 of 16 PageID #: 111
1992), cert dismissed, 510 U.S. 124 (1993). 1 Over the course of three and a half hours, Plaintiff

and two companions beat the child with brass knuckles and a switch, urinated in his mouth, burned

him with a cigarette lighter, forced a stick into his anus, and slashed open his chest and wrist,

before ultimately stabbing him to death. Id. at 324–25. Plaintiff now seeks to prevent the State of

Tennessee from carrying out his sentence by challenging Tennessee’s methods of executing death-

sentenced inmates.

       Tennessee’s primary method of execution is lethal injection. Tenn. Code Ann. § 40-23-

114. A person sentenced to death for an offense committed before January 1, 1999, however, may

“elect to be executed by electrocution by signing a written waiver waiving the right to be executed

by lethal injection.” Id. § 40-23-114(b). Electrocution is also the method if either lethal injection

is “held to be unconstitutional” or one or more of the “ingredients essential to carrying out a

sentence of death by lethal injection is unavailable through no fault of the department.” Id. § 40-

23-114(e), 114(e)(1), 114(e)(2).

       TDOC is the agency responsible for adopting the rules and regulations necessary to carry

out death sentences. Id. § 40-23-114(c). The shifting in the availability of lethal-injection

chemicals has forced TDOC to change its lethal injection procedures several times in the past

decade. Prior to 2013, TDOC used a three-drug protocol of sodium thiopental, pancuronium

bromide, and potassium chloride. Workman v. Bredesen, 486 F.3d 896, 902 (6th Cir. 2007). When

sodium thiopental became unavailable, TDOC changed to a single-drug protocol using

pentobarbital. West v. Schofield, 519 S.W.3d 550, 552 (Tenn. 2017), cert. denied sub nom. West




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  See also Middlebrooks v. State, No. M2001-01865-CCA-R3PD, 2003 WL 61244, at *1 (Tenn.
Crim. App. Jan. 9, 2003) (affirming denial of post-conviction relief); Middlebrooks v. Carpenter,
843 F.3d 1127 (6th Cir. 2016) (affirming denial of federal habeas relief), cert denied sub nom.
Middlebrooks v. Mays, 138 S.Ct. 503 (2017).


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    Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 2 of 16 PageID #: 112
v. Parker, 138 S. Ct. 476 (2017), and cert. denied sub nom. Abdur’Rahman v. Parker, 138 S. Ct.

647 (2018). But in 2018, pentobarbital became unavailable, so TDOC had to revise the protocol

again, adopting a new three-drug protocol using midazolam (a sedative in the benzodiazepine

family of drugs) followed by vecuronium bromide (a paralytic agent) and potassium chloride (a

heart-stopping agent). Abdur’Rahman v. Parker, 558 S.W.3d 606, 611, 616 (Tenn.), cert. denied

sub nom. Zagorski v. Parker, 139 S. Ct. 11 (2018), and cert. denied sub nom. Miller v. Parker, 139

S. Ct. 626 (2018), and cert. denied, 139 S. Ct. 1533 (2019).

       Plaintiff herein previously challenged the constitutionality of the current three-drug

protocol. In Abdur’Rahman v. Parker, Plaintiff joined thirty-two other death row inmates in a

constitutional challenge to the three-drug protocol. Id. at 612 n.6. They alleged, among other

claims, that “the current three-drug lethal injection protocol, on its face, violates the constitutional

prohibitions against cruel and unusual punishment.” Id. at 614. As an alternative to the State’s

three-drug protocol, the plaintiffs proposed TDOC adopt pentobarbital as a method of execution.

Id. at 12. The trial court dismissed the complaint, finding that the plaintiffs failed to prove, as

required by Baze v. Rees, 553 U.S. 35 (2008) and Glossip v. Gross, 135 S. Ct. 2726 (2015), “that

an available alternative method of execution exists,” and although it did not need to reach the issue,

trial court also found that “the [p]laintiffs failed to prove the other essential element [in Baze and

Glossip]—that the three-drug protocol creates a demonstrated risk of severe pain.”

Abdur’Rahman, 558 S.W.3d at 613. The Tennessee Supreme Court affirmed the trial court’s

judgment on the first ground and, thus, did not reach the second ground, finding that because “the

[p]laintiffs failed to carry their burden of showing availability of their proposed alternative method

of execution,” they “failed to establish that Tennessee’s current three-drug lethal injection protocol

constitutes cruel and unusual punishment.” Id. at 626.




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    Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 3 of 16 PageID #: 113
       Plaintiff filed the instant Complaint on December 18, 2019, over a year after the decision

in Abdur’Rahman. Plaintiff again alleges that TDOC’s most recent three-drug lethal injection

protocol constitutes cruel and unusual punishment, violating the Eighth and Fourteenth

Amendments. (D.E. 1, PageID# 55–56.) As alternatives to the three-drug protocol, Plaintiff

proposes that TDOC use either nitrogen gas or pentobarbital to execute him. (D.E.1, PageID# 46–

51.) He also alleges that execution by electrocution violates the Eighth Amendment by creating a

substantial risk of unnecessary pain as applied to him, violating the dignity of man, and violating

evolving standards of decency. (D.E. 1, PageID# 52–56.) Under 42 U.S.C. 1983, Plaintiff seeks

injunctive relief, declaratory relief, attorneys’ fees, and the cost of the suit. (D.E. 1, PageID# 4.)

As set out below, this Complaint should be dismissed for lack of subject matter jurisdiction and

failure to state a claim upon which relief can be granted.

                                               ARGUMENT

I.     Plaintiff’s Eighth Amendment Electrocution Claims (Counts II, III, IV) Should Be
       Dismissed for Lack of Subject Matter Jurisdiction Because They Are Not Ripe.

       A.      Standard of Review

       Federal Rule of Civil Procedure 12(b)(1) allows a court to dismiss a claim for lack of

subject matter jurisdiction. A Rule 12(b)(1) motion “can challenge the sufficiency of the pleading

itself (facial attack) or the factual existence of subject matter jurisdiction (factual attack).”

Cartwright v. Garner, 751 F.3d 752, 759 (6th Cir. 2014). A facial attack challenges “whether the

plaintiff has alleged a basis for subject matter jurisdiction, and the court takes the allegations of

the complaint as true for purposes of Rule 12(b)(1) analysis.” Id. A factual attack “challenges the

factual existence of subject matter jurisdiction,” and the court may consider “evidence outside of

the pleadings” and “weigh the evidence and determine the effect of that evidence on the court’s

authority to hear the case.” Id. at 759–60. In both kinds of challenges, the plaintiff has the burden



                                       4
     Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 4 of 16 PageID #: 114
of establishing that subject matter jurisdiction exists. Id. at 760.

       Article III of the U.S. Constitution authorizes federal courts “to adjudicate only ‘Cases’

and ‘Controversies.’” Mokdad v. Sessions, 876 F.3d 167, 169 (6th Cir. 2017). A federal court

lacks subject matter jurisdiction when the alleged controversy is not yet ripe for judicial resolution.

River City Capital, L.P. v. Bd. of Cty. Comm’rs, Clermont Cty., Ohio, 491 F.3d 301, 309 (6th Cir.

2007). “Under the ripeness doctrine, a matter is considered premature for judicial review when

the alleged injury is speculative or may never occur.” Kallstrom v. City of Columbus, 136 F.3d

1055, 1068 (6th Cir. 1998); see also Texas v. United States, 523 U.S. 296, 300 (1998) (“A claim

is not ripe for adjudication if it rests upon ‘contingent future events that may not occur as

anticipated, or indeed may not occur at all.’” (quoting Thomas v. Union Carbide Agr. Prod. Co.,

473 U.S. 568, 580–81 (1985))).

        B.      Plaintiff’s Eighth Amendment Electrocution Claims (Counts II, III, IV) Are
                Not Ripe.

        Plaintiff’s Eighth Amendment electrocution claims are not ripe. Under Tenn. Code Ann.

§ 40-23-114, a death-sentenced inmate will be executed by lethal injection unless: (1) the inmate

was sentenced to death for an offense committed before January 1, 1999, and elects to be executed

by electrocution by signing a written waiver, id. § 40-23-114(b); (2) lethal injection is held

unconstitutional by the Tennessee Supreme Court or the U.S. Supreme Court, id. § 40-23-114(e);

or (3) the TDOC Commissioner certifies to the Governor that he is unable to carry out the sentence

because “one or more of the ingredients essential to carrying out a sentence of death by lethal

injection is unavailable,” id.

        Plaintiff’s Eighth Amendment electrocution claims rest on contingent events that may

never occur. To date, Plaintiff has not signed a written waiver electing to be electrocuted—indeed,

Plaintiff has specifically stated that he “will not” elect a method of execution. (D.E. 1, PageID#



                                      5
    Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 5 of 16 PageID #: 115
9.) The other contingencies that would permit electrocution also have not happened and may never

happen. Furthermore, this Court has already held in similar cases that such “Electrocution Causes

of Action depend entirely on future and contingent events that have not occurred and may never

occur, and as a result, are unripe and nonjusticiable.” Miller v. Parker, No. 3:18-CV-01234, 2018

WL 6003123, at *3 (M.D. Tenn. Nov. 15, 2018) (quoting West v. Schofield, 468 S.W.3d 482, 494

(Tenn. 2015)), reconsideration denied, No. 3:18-CV-01234, 2018 WL 6069181 (M.D. Tenn. Nov.

20, 2018), and aff’d, 910 F.3d 259 (6th Cir. 2018), cert. denied, 139 S. Ct. 399 (2018); see also

Duncan v. Carpenter, No. 3:88-00992, 2014 WL 3905440, at *42 (M.D. Tenn. Aug. 11, 2014)

(“A recent amendment to the controlling statute provides that execution by electrocution is

otherwise authorized only in the event that lethal injection is held to be unconstitutional by a court

of competent jurisdiction or the Commissioner [of TDOC] certifies to the governor that an

essential lethal injection ingredient is unavailable. In the absence of any allegation that either of

those triggering events has happened, any challenge to the constitutionality of electrocution is not

ripe for review.” (citation omitted)). Because Plaintiff’s claims are not ripe, this Court must

dismiss them for lack of jurisdiction.

II.     The Complaint Should Be Dismissed Because It Fails to State a Claim Upon Which
        Relief Can Be Granted.

        A.      Standard of Review

        Under Federal Rule of Civil Procedure 12(b)(6), this Court may dismiss a complaint for

“failure to state a claim upon which relief can be granted.” The purpose of Rule 12(b)(6) “is to

allow a defendant to test whether, as a matter of law, the plaintiff is entitled to legal relief even if

everything alleged in the complaint is true.” Mayer v. Mylod, 988 F.2d 635, 638 (6th Cir. 1993).

When considering a Rule 12(b)(6) motion, the Court must “construe the complaint in the light

most favorable to the plaintiff, accept [the plaintiff’s] allegations as true, and draw all reasonable



                                        6
      Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 6 of 16 PageID #: 116
inferences in favor of the plaintiff.” Wesley v. Campbell, 779 F.3d 421, 428 (6th Cir. 2015)

(quoting Directv, Inc. v. Treesh, 487 F.3d 471, 476 (6th Cir. 2007)). To survive a Rule 12(b)(6)

motion to dismiss, a complaint must raise more than a “possibility that a defendant has acted

unlawfully”; there must be sufficient factual allegations to render the claim facially plausible.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009); Wesley, 779 F.3d at 429. A claim is facially plausible

“when the plaintiff pleads factual content that allows the court to draw the reasonable inference

that the defendant is liable for the misconduct alleged.” Iqbal, 556 U.S. at 678.

         Although a court generally is limited to the pleadings when considering a Rule 12(b)(6)

motion, it may “take judicial notice of other court proceedings without converting the motion into

one for summary judgment.” Buck v. Thomas M. Cooley Law Sch., 597 F.3d 812, 816 (6th Cir.

2010).

         B.      Plaintiff’s Eighth Amendment Lethal Injection Protocol Claim (Count I) Is
                 Barred by Res Judicata.

         Count I should be dismissed because it is barred by the res judicata effect of the state court’s

judgment in Abdur’Rahman, which rejected constitutional challenges to the very same three-drug

protocol that is challenged here. In fact, in a recent and similar case that was also brought by an

Abdur’Rahman plaintiff, this Court held that res judicata was an unavoidable bar and dismissed

the plaintiff’s challenges to Tennessee’s method of execution. Sutton v. Parker, No. 3:19-CV-

00005, 2019 WL 4220896 (M.D. Tenn. Sept. 5, 2019), appeal docketed, No. 19-6135 (6th Cir.

Oct. 7, 2019).

         “Congress has dictated that state court judicial proceedings ‘shall have the same full faith

and credit in every court within the United States . . . as they have by law or usage in the courts of

such State . . . from which they are taken.’” Id. at *6 (quoting 28 U.S.C. § 1738). Under this

statutory requirement, “Congress has specifically required all federal courts to give preclusive



                                      7
    Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 7 of 16 PageID #: 117
effect to state-court judgments whenever the courts of the State from which the judgments emerged

would do so,” including in Section 1983 cases. Allen v. McCurry, 449 U.S. 90, 96, 98–99 (1980)

(traditional preclusion doctrines apply to Section 1983 actions). Thus, Tennessee law governs the

res judicata effect of the state court’s judgment in Abdur’Rahman.

        The doctrine of res judicata “bars a second suit between the same parties or their privies on

the same claim with respect to all issues which were, or could have been, litigated in the former

suit.” Jackson v. Smith, 387 S.W.3d 486, 491 (Tenn. 2012) (citing Creech v. Addington, 281

S.W.3d 363, 376 (Tenn. 2009)). Res judicata “promotes finality in litigation, prevents inconsistent

or contradictory judgments, conserves judicial resources, and protects litigants from the cost and

vexation of multiple lawsuits.” Id. One relevant limitation of this doctrine is that it “extends only

to the facts in issue as they existed at the time the judgment was rendered.” Sutton, 2019 WL

4220896, at *12 (quoting Creech, 281 S.W.3d at 381). Thus, res judicata does not bar litigation

when there are “new facts” that “alter the legal rights or relations of the litigants.” Id. (quoting

Creech, 281 S.W.3d at 381).

        To prevail on a res judicata defense, a party must establish (1) that a court of competent

jurisdiction rendered the underlying judgment, (2) that both suits shared the same parties or their

privies, (3) that both suits involved the same cause of action, and (4) that the underlying judgment

was final and on the merits. See Jackson, 387 S.W.3d at 491. Each of these criteria is satisfied

here.

        First, the underlying judgment in Abdur’Rahman was rendered by the Davidson County

Chancery Court, a court of competent jurisdiction in Tennessee. Tenn. Code Ann. §§ 16-11-101

to -115.




                                      8
    Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 8 of 16 PageID #: 118
       Second, this action involves the “same parties” as the Abdur’Rahman action. Plaintiff was

one of the named plaintiffs in Abdur’Rahman. 558 S.W.3d at 612 n.6. And Defendants here—

the TDOC Commissioner and the Warden of Riverbend Maximum Security Institution, in their

official capacities—were also named defendants in Abdur’Rahman. Id. at 612 n.7.

       Third, one of the claims adjudicated in Abdur’Rahman was an Eighth Amendment lethal

injection claim. To satisfy the same-cause-of-action requirement, “the causes of action raised need

not be identical.” Rainbow Ridge Resort, LLC v. Branch Banking & Trust Co., 525 S.W.3d 252,

263 (Tenn. Ct. App. 2016). But here, the causes of action are identical. In Abdur’Rahman, the

plaintiffs asserted that “Tennessee’s current three-drug lethal injection protocol, on its face,

violates constitutional prohibitions against cruel and unusual punishment.” 558 S.W.3d at 614. In

this case, Plaintiff challenges the exact same three-drug protocol under the Eighth Amendment.

(D.E. 1, PageID# 55–56.) Thus, this Complaint is barred by res judicata.

       Plaintiff seemingly attempts to avoid the application of res judicata by alleging the

following changes in the availability of pentobarbital: (1) that “[s]tates have executed inmates with

pentobarbital as recently as December 11, 2019”; (2) that as of 2019, the federal government has

procured the active pharmaceutical ingredient in pentobarbital from a domestic bulk manufacturer

for use in federal executions; and (3) that, due to a recent opinion from the Office of Legal Counsel,

pentobarbital is now available for importation from foreign sources. (D. E. 1, PageID# 47–50.)

The first two factual allegations are immaterial because other states were already using

pentobarbital to carry out executions when the Abdur’Rahman court decided pentobarbital was not

available to Tennessee. 558 S.W.3d at 623. The fact that states continue to use pentobarbital and

the federal government also intends to use pentobarbital does not mean the drug is available to

Tennessee. See In re Ohio Execution Protocol, 860 F.3d 881, 891 (6th Cir. 2017) (finding that




                                      9
    Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 9 of 16 PageID #: 119
even though “other states have been reported to have obtained compounded pentobarbital for use

in executions,” it did not mean “that any given state [could] actually locate those pharmacies and

readily obtain the drugs”). The third factual allegation is immaterial because, as this Court

explained in Sutton, “OLC opinions are advisory and do not have the effect of law” 2 and “this

Opinion directly conflicts with the 2013 holding by the United States Court of Appeals for the

District of Columbia that the [Food and Drug Administration’s (“FDA’s”)] failure to regulate the

importation of a foreign lethal injection chemical violated the Food, Drug, and Cosmetic Act.”

2019 WL 4220896, at *19 (citing Cook v. Food & Drug Admin., 733 F.3d 1, 11, 12 (D.C. Cir.

2013)).

          Furthermore, even if the FDA were suddenly to stop regulating the importation of

pentobarbital, it does not follow that Tennessee would be able to obtain it. It is no secret that anti-

death-penalty advocates exert pressure on manufacturers of lethal injection drugs and frequently

are successful in persuading them to stop supplying the drugs to state correctional departments.

See Glossip, 135 S. Ct. at 2733. Foreign manufacturers are not immune from these pressure tactics.

When “the sole American manufacturer of sodium thiopental” ceased domestic production of the

drug and “planned to resume production in Italy,” activists successfully “pressured both the

company and the Italian Government” to stop selling it for use in executions. Id. “Anti-death-

penalty advocates” also “lobbied the Danish manufacturer of [pentobarbital] to stop selling it for

use in executions.” Id. If foreign manufacturers become a plausible source of pentobarbital for

states in the wake of the OLC opinion, it stands to reason that anti-death-penalty advocates will



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  To be sure, the OLC considers its formal written opinions binding on executive branch agencies.
See, e.g., Citizens for Responsibility and Ethics in Wash. v. U.S. Dep’t of Justice, 922 F.3d 480,
484 (D.C. Cir. 2019). But OLC opinions do not bind courts; instead, they are “entitled to only as
much weight as the force of their reasoning will support.” Comm. on Judiciary, U.S. House of
Representatives v. Miers, 558 F. Supp. 2d 53, 105 (D.D.C. 2008).


                                      10
    Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 10 of 16 PageID #: 120
renew their efforts to cut off that source as well. In short, the OLC opinion does not make

pentobarbital available to Tennessee for use in executions. Thus, none of Plaintiff’s allegations

are factual developments that could overcome the barrier of res judicata.

       Fourth, the underlying judgment in the Abdur’Rahman action was on the merits and is now

final. The Tennessee Supreme Court affirmed the chancery court’s judgment on October 8, 2018,

Abdur’Rahman, 558 S.W.3d at 617–18, and its mandate issued on October 19, 2018, see

Abdur’Rahman v. Parker, No. M2018-01835-SC-RDO-CV (Tenn. Oct. 19, 2018).

       Res judicata ensures an end to litigation once a cause of action has been litigated. The

Abdur’Rahman plaintiffs, including Plaintiff herein, received extensive process in chancery court

and an opportunity to make a complete record on their claims. They presented proof during the

ten-day state-court trial, including four expert witnesses and twelve lay witnesses. Abdur’Rahman,

558 S.W.3d at 612. During appellate proceedings, they were heard through counsel and in writing

by an impartial tribunal. The Tennessee Supreme Court considered separate briefs filed by two

sets of plaintiffs and expanded the time for oral argument. Id. at 614–15, 618–19. Thus, as this

Court held in Sutton, the Abdur’Rahman plaintiffs received a full and fair opportunity to litigate

their cause of action challenging Tennessee’s execution protocol in state court, and res judicata

bars Plaintiff’s attempt to get a second bite at the apple in this Court. Thus, Count I should be

dismissed.

       C.      Plaintiff’s Eighth Amendment Lethal Injection Protocol Claim (Count I) Fails
               on the Merits.

       Count I should be dismissed because the Sixth Circuit has already determined that an

essentially identical version of the three-drug protocol does not violate the Eighth Amendment. In

order to bring a successful Eighth Amendment challenge to the three-drug protocol, Plaintiff must

prove (1) that there is a substantial risk the state’s chosen method will cause imminent danger of



                                     11
   Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 11 of 16 PageID #: 121
serious illness and needless suffering and (2) that there is an alternative method of execution that

is “feasible, readily implemented, and in fact significantly reduce[s] a substantial risk of severe

pain.” Glossip, 135 S. Ct. at 2737 (quoting Baze, 553 U.S. at 52). If Plaintiff cannot meet “his

‘heavy burden to show that’ the state’s chosen method of execution will cause serious pain that

the inmate ‘is sure or very likely to be conscious enough to experience,’” he has not met the first

requirement set forth in Baze and Glossip, and the Court need not reach the question of alternative

methods. In re Ohio Execution Protocol Litig. (Henness v. DeWine), No. 19-3064, 2019 WL

6873693, at *2 (6th Cir. Dec. 17, 2019) (quoting Campbell v. Kasich, 881 F.3d 447, 450 (6th Cir.

2018)).

          Recently, in Henness v. DeWine, the Sixth Circuit considered whether Ohio’s three-drug

protocol, which is essentially identical to Tennessee’s, violated the Eighth Amendment. Id. at *1.

The Sixth Circuit held that the evidence presented by Henness, an Ohio death-sentenced inmate,

concerning the effects of a 500-milligram dose of midazolam (the same dose that Tennessee uses)

was insufficient as a manner of law to satisfy the first requirement of Baze and Glossip. Id. at *1–

3. The district court had held that Henness satisfied the first requirement by presenting evidence

that midazolam causes pulmonary edema and “could not suppress Henness’s consciousness deeply

enough to prevent him from experiencing” the pain from pulmonary edema or from “the

combination of the paralytic agent and potassium chloride.” Id. at *2. The Sixth Circuit disagreed,

holding that the “relevant inquiry is whether an inmate injected with 500 milligrams of midazolam

would subjectively experience unconstitutionally severe pain” and concluding that Henness had

failed to prove that this inquiry “should be answered in his favor.” Id. The Sixth Circuit noted

that “it is immaterial whether the inmate will experience some pain”—to be “constitutionally

cognizable,” the pain must be “severe.” Id.; see also Bucklew v. Precythe, 139 S. Ct. 1112, 1124




                                     12
   Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 12 of 16 PageID #: 122
(2019) (“[W]hat unites the punishments the Eighth Amendment was understood to forbid, and

distinguishes them from those it was understood to allow, is that the former were long disused

(unusual) forms of punishment that intensified the sentence of death with a (cruel)

‘superadd[ition]’ of ‘terror, pain, or disgrace.’” (quoting Baze, 553 U.S. at 48)). 3

       Plaintiff herein likewise alleges that under the three-drug protocol there is an imminent risk

he “will experience severe pain and unnecessary suffering due to pulmonary edema resulting from

the dose of 500 mg midazolam, from suffocation and terror of paralysis from the vecuronium

bromide, and from the searing pain of the potassium chloride.” (D.E. 1, PageID# 56.) Because

Plaintiff’s allegations regarding the effects of the three-drug protocol are no different from the

evidence presented by Henness, the Sixth Circuit’s decision in Henness forecloses this Eighth

Amendment claim as a matter of law. Thus, Count I should be dismissed.

       D.      Plaintiff’s Eighth Amendment Dignity and Decency Claims (Counts III, IV)
               Fail Because the Eighth Amendment Does Not Provide a Separate Bases of
               Relief on These Grounds.

       Plaintiff alleges that execution by electrocution violates the “dignity of man standard” and

“evolving standards of decency” contained in the Eighth Amendment. (D.E. 1, PageID# 54–55).

Even if Plaintiff’s Eighth Amendment Electrocution claims were ripe, they would be insufficient

to state a claim on which relief could be granted. While the concepts of dignity and evolving

standards of decency are implicit in the Eighth Amendment, they are not separate causes of

action—instead, they are part of the analysis of whether a criminal sentence imposes a cruel and

unusual punishment. See, e.g., Atkins v. Virginia, 536 U.S. 304, 311–12 (2002) (reviewing the

concepts of “the dignity of man” and “evolving standards of decency” as part of the analysis of



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  Relying on Bucklew, the Henness Court also noted that, to be unconstitutional, a method of
execution must pose a risk of pain that exceeds the pain associated with hanging. Henness, 2019
WL 6873693, at *2.


                                      13
    Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 13 of 16 PageID #: 123
whether it was cruel and unusual punishment to execute mentally disabled individuals). Indeed,

this is the context in which these concepts are analyzed in the very cases that Plaintiff cites in his

Complaint. See Glass v. Louisiana, 471 U.S. 1080, 1080–81 (1985) (Brennan, J., dissenting)

(analyzing whether execution by electrocution is a cruel and unusual punishment); Gregg v.

Georgia, 428 U.S. 153, 162 (1976) (analyzing whether it was cruel and unusual punishment to

impose a death penalty under Georgia’s statutory scheme); State v. Mata, 745 N.W.2d 229, 261

(Neb. 2008) (analyzing whether electrocution imposes a cruel and unusual punishment); Dawson

v. State, 554 S.E.2d 137, 144 (Ga. 2001) (analyzing whether electrocution imposes a cruel and

unusual punishment under the Georgia Constitution). Thus, Counts III and IV fail to allege stand-

alone, independent causes of action and should be dismissed for failure to state a claim upon which

relief can be granted.

       E.      Plaintiff’s Complaint Fails to Sufficiently Allege How His First Alternative,
               Nitrogen Hypoxia, Is Available and Readily Implemented.

       Plaintiff’s six short sentences about nitrogen hypoxia fall well short of the applicable

pleading requirements. “A pleading that states a claim for relief must contain . . . a short and plain

statement of the claim showing that the pleader is entitled to relief . . . .” Fed. R. Civ. P. 8 (a),

(a)(2). As discussed, to survive a motion to dismiss, the complaint must contain enough facts to

“state a claim to relief that is plausible on its face.” Iqbal, 556 U.S. at 678 (quoting Bell Atl. v.

Twombly, 550 U.S. 544, 570 (2007)). In Bucklew v. Precythe, when affirming the trial court’s

decision to grant summary judgment to the state, the Supreme Court noted several “essential

questions” that a death row inmate must answer in order to show that nitrogen hypoxia was

available as a “readily implemented” alternative to a state’s existing method of execution—

questions like “how nitrogen gas should be administered,” “in what concentration,” “how quickly

and for how long it should be introduced,” and “how the State might ensure the safety of the



                                     14
   Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 14 of 16 PageID #: 124
execution team, including protecting them against the risk of gas leaks.” 139 S. Ct. at 1129. The

Complaint does not allege answers to a single one of the questions raised in Bucklew. Instead, it

relies on the conclusory statement that “[e]xecution by nitrogen hypoxia is feasible, readily

implemented, and significantly reduces the substantial risk of severe pain presented by

Tennessee’s current three-drug protocol.” (D.E. 1, PageID# 47.) Thus, the Complaint does not

allege sufficient facts to state a plausible claim that execution by nitrogen hypoxia is an available,

readily implemented alternative to the three-drug protocol.

                                          CONCLUSION

       For these reasons, Plaintiff’s Complaint should be dismissed in its entirety.

                                                              Respectfully submitted,


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                                     15
   Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 15 of 16 PageID #: 125
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                               CERTIFICATE OF SERVICE


       I certify that on the 9th day of January 2020, a copy of the foregoing Memorandum of Law

in Support of Defendants’ Motion to Dismiss was filed and served by operation of the Court’s

ECF/PACER system on the following counsel for Plaintiff: Kelly Henry, Supervisory Asst.

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                                     16
   Case 3:19-cv-01139 Document 8 Filed 01/09/20 Page 16 of 16 PageID #: 126
